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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                                   Chapter 11

r4 VASCULAR, INC.,                                                       Case No. 13-12409 (SCC)
                          Debtor.
---------------------------------x



                ORDER: (I) APPROVING SALE BY DEBTOR OF CERTAIN
            ASSETS FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS AND
              ENCUMBRANCES PURSUANT TO SECTIONS 105(a), 363(b), (f)
           AND (m) AND 365 OF THE BANKRUPTCY CODE; (II) ASSUMING AND
                ASSIGNING CERTAIN EXECUTORY CONTRACTS AND
             UNEXPIRED LEASES; AND (III) GRANTING RELATED RELIEF

                   Upon the motion, dated July 30, 2013 (the "Motion") of r4 Vascular, Inc. (the

"Debtor"), as debtor and debtor in possession for, among other things, entry of an order pursuant

to 11 U.S.C. §§ 105(a), 363, and 365 and Fed. R. Bankr. P. 2002, 6004, 6006, and 9014 (the

"Sale Order") (i) authorizing the Debtor's sale (the "Sale") of substantially all of the Debtor's

assets (the "Assets") as described in that certain Asset Purchase Agreement dated as of July 25,

2013, a copy of which is annexed hereto as Exhibit A,1 including all of the Schedules and

Exhibits thereto (as they may be amended, in accordance with the terms thereof, the "Purchase

Agreement"), among the Debtor, as seller, and White Sand Beach, LLC the purchaser (the

"Purchaser"), free and clear of all liens, claims, encumbrances, and interests (hereinafter defined

collectively as the "Interests"), with such Interests to transfer, affix, and attach to the proceeds of

the Sale, all as more fully set forth herein; (ii) approving the Purchase Agreement; (iii)

authorizing the assumption, assignment, and sale of certain executory contracts and unexpired

leases (the "Included Contracts") pursuant to and as provided for in the Purchase Agreement; and

(iv) fixing all amounts, if any, required to be paid or escrowed pending resolution of disputes
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    Capitalized terms not defined herein shall have the meanings set forth in the Purchase Agreement.

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concerning such amounts in connection with the assumption of the Included Contracts pursuant

to 11 U.S.C. § 365(b)(1)(A) and (B) (the "Cure Amounts"); and the Court having held a hearing

on August 29, 2013 and thereafter entered an Order dated August 29, 2013 (the "Bid Procedures

Order"), authorizing the Debtor to conduct an auction pertaining to and approving the terms and

conditions for the Sale of the Assets and the assumption and assignment of the Included

Contracts, and for the Debtor to consider higher or otherwise better offers for the Assets and the

Included Contracts (the "Auction"); and a hearing on the Motion having been held on October 1,

2013 (the "Sale Hearing"); and no competing qualified bids having been submitted, and

Purchaser having submitted the highest and best bid for the Assets and the Included Contracts;

and it appearing that the relief requested in the Motion is in the best interests of the Debtor, its

estate, its creditors and all parties in interest; and upon the record of the Sale Hearing held in

conjunction therewith; and after due deliberation; and good cause appearing therefor, the Court

hereby

               FINDS, DETERMINES, AND CONCLUDES THAT:

               A.      The findings and conclusions set forth herein constitute the Court's

findings of fact and conclusions of law pursuant to Fed. R. Bankr. P. 7052, made applicable to

this proceeding pursuant to Fed. R. Bankr. P. 9014.

               B.      To the extent any of the following findings of fact constitute conclusions

of law, they are adopted as such. To the extent any of the following conclusions of law constitute

findings of fact, they are adopted as such.

               C.      The Court has jurisdiction over the Motion and the transactions

contemplated by the Purchase Agreement pursuant to 28 U.S.C. §§ 157 and 1334, and this matter




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is a core proceeding under 28 U.S.C. § 157(b)(2)(A) and (N). Venue of these cases and the

Motion in this district is proper under 28 U.S.C. §§ 1408 and 1409.

               D.       The statutory predicates for the relief sought in the Motion are sections

105, 363, and 365 of 11 U.S.C. §§ 101 et. seq. (the "Bankruptcy Code"), and Fed. R. Bankr. P.

2002, 6004, 6006, and 9014.

               E.       As evidenced by the affidavits of service previously filed with the Court,

(i) proper, timely, adequate, and sufficient notice of the Motion, the Auction, the Bid Procedures

Order, the Sale Hearing, the Sale and the assumption and assignment of the Included Contracts

has been provided in accordance with sections 102(1), 363, and 365 of the Bankruptcy Code,

Fed. R. Bankr. P. 2002, 6004, and 9014, the Bid Procedures Order and the Purchase Agreement;

(ii) such notice was good and sufficient, and appropriate under the particular circumstances, and

(iii) no other or further notice of the Motion, the Auction, the Bid Procedures Order, the Sale

Hearing, the Sale, or the assumption and assignment of the Included Contracts is or shall be

required.

               F.       As evidenced by the affidavits of publication previously filed with the

Court, proper, timely, adequate and sufficient publication of the Notice of Auction, as attached to

the Bid Procedures Order was made through publication of the Notice of Auction on September

9, 2013 in the national edition of USA Today and in Crain’s New York Business.

               G.       As evidenced by affidavits previously filed with the Court, in the twelve to

eighteen month period prior to the Petition Date, the Debtor extensively marketed the Assets to

numerous parties directly and through its former investment banker, Gravitas Healthcare LLC.

               H.       The Debtor (i) has full power and authority to execute the Purchase

Agreement and all other documents contemplated thereby, (ii) has all of the power and authority



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necessary to consummate the transactions contemplated by the Purchase Agreement; and (iii) has

taken all company action necessary to authorize and approve the Purchase Agreement and the

consummation by the Debtor of the transactions contemplated thereby.

               I.       No consents or approvals, other than those expressly provided for in the

Purchase Agreement, are required for the Debtor to consummate the transactions contemplated

herewith.

               J.       Emergent circumstances and sound business reasons exist for the Debtor's

Sale of the Assets and the assumption and assignment of the Included Contracts under the

Purchase Agreement. Entry into the Purchase Agreement and consummation of the transactions

contemplated thereby constitute the exercise by the Debtor of sound business judgment, and such

acts are in the best interests of the Debtor, its estate, its creditors and all parties in interest. The

Court finds that the Debtor has articulated good and sufficient business reasons justifying the

Sale of the Assets under sections 105 and 363 of the Bankruptcy Code. Such business reasons

include, but are not limited to, the following: (i) there is substantial risk of deterioration of the

value of the Assets if the Sale is not consummated quickly; (ii) the Purchase Agreement

constitutes the highest and best offer for the Assets and the Included Contracts; and (iii) the

Purchase Agreement and the closing thereon will present the best opportunity to realize the value

of the Assets on a going-concern basis, and avoid decline and devaluation of the Debtor's

business.

               K.       The Purchase Agreement and the transactions contemplated thereby were

negotiated, and have been and are being undertaken by the Debtor and Purchaser, at arms' length

and without collusion or fraud, and in good faith within the meaning of section 363(m) of the

Bankruptcy Code. The Auction was conducted in accordance with the Bid Procedures Order,



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and this Court concluded at the hearing on the Motion that the Purchaser submitted the highest

and best bid for the Assets and the Included Contracts.

               L.       The Purchase Agreement was negotiated, proposed and entered into by the

Debtor and the Purchaser without collusion, in good faith, and at arms' length bargaining

positions. Neither the Debtor nor the Purchaser has engaged in any conduct that would cause or

permit the Purchase Agreement to be avoided under section 363(n) of the Bankruptcy Code.

               M.       The consideration provided by the Purchaser for the Assets is the highest

and otherwise best offer received by the Debtor and is fair and reasonable. A sale of the Assets,

other than one free and clear of Interests, would impact materially and adversely on the Debtor's

estate, and would yield substantially less value for the Debtor's estate, with less certainty than the

Sale. Therefore, the Sale is in the best interests of the Debtor, its estate, creditors and all parties

in interest.

               N.       A reasonable opportunity to object or be heard with respect to the Motion

and the relief requested therein has been afforded to all interested persons and entities, including:

(i) the Office of the United States Trustee for the Southern District of New York (the "U.S.

Trustee"); (ii) the Purchaser; (iii) all entities that may have an interest in a transaction with

respect to the Assets; (iv) all entities known to have asserted any Interests in, upon or against the

Assets or the Debtor; and (v) all parties having filed a notice of appearance in this Case.

               O.       The Purchaser is not an "insider" of the Debtor, as that term is defined in

section 101(31) of the Bankruptcy Code.

               P.       The transfer of the Assets to the Purchaser will be a legal, valid, and

effective transfer of the Assets, and will vest the Purchaser with all right, title, and interest of the




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Debtor to the Assets free and clear of all Interests including, but not limited to, claims otherwise

arising under doctrines of successor liability.

               Q.       The Purchaser would not have entered into the Purchase Agreement, and

would not consummate the transactions contemplated thereby, thus adversely affecting the

Debtor, its estate and creditors, if the sale of the Assets to the Purchaser and the assignment of

the Included Contracts to the Purchaser was not free and clear of all Interests of any kind or

nature whatsoever other than liabilities expressly assumed under the Purchase Agreement, or if

the Purchaser would, or in the future could, be liable for any of such Interests including, without

limitation, the Excluded Liabilities.

               R.       The Debtor may sell the Assets free and clear of all Interests of any kind

or nature whatsoever because, in each case, one or more of the standards set forth in section

363(f)(1)-(5) of the Bankruptcy Code has been satisfied. Those (i) holders of Interests; and (ii)

non-debtor parties to Included Contracts which did not object, or which withdrew their

objections to the Sale or the Motion are deemed to have consented under section 363(f)(2) of the

Bankruptcy Code. Those (i) holders of Interests; and (ii) non-debtor parties to Included

Contracts that did object fall within one or more of the other subsections of section 363(f) of the

Bankruptcy Code, and are adequately protected by having their Interests, if any, attach to the

cash proceeds of the Sale ultimately attributable to the property against or in which they assert an

Interest.

               S.       The Debtor has demonstrated that it is an exercise of its sound business

judgment to assume and assign the Included Contracts to the Purchaser in connection with the

consummation of the Sale, and that the assumption and assignment of the Included Contracts is

in the best interests of the Debtor, its estate, its creditors and all parties in interest. The Included



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Contracts being assigned to, and the Assumed Liabilities being assumed by, the Purchaser, are an

integral part of Assets being purchased by the Purchaser and, accordingly, such assumption and

assignment of Included Contracts and the Assumed Liabilities are reasonable, enhance the value

of the Debtor's estate, and do not constitute unfair discrimination.

                T.       The Purchaser has (i) cured, or has provided adequate assurance of cure,

of any default existing prior to the Closing under any of the Included Contracts, within the

meaning of section 365(b)(1)(A) of the Bankruptcy Code (which does not involve an unexpired

lease of real property); and (ii) provided compensation or adequate assurance of compensation to

any party for any actual pecuniary loss to such party resulting from a default prior to the date

hereof under any of the Included Contracts within the meaning of section 365(b)(1)(B) of the

Bankruptcy Code. The Purchaser has provided adequate assurance of its future performance of

and under the Included Contracts, within the meaning of section 365(b)(1)(C) of the Bankruptcy

Code.

                U.       Approval of the Purchase Agreement and assumption and assignment of

the Included Contracts and consummation of the sale of the Assets, at this time are in the best

interests of the Debtor, its creditors, its estate and all parties in interest.

                For all of the foregoing and after due deliberation, the Court ORDERS,

ADJUDGES, AND DECREES THAT:

                                      GENERAL PROVISIONS

                1.       The Motion is granted, as further described herein.

                2.       No objections to the Motion were filed. All responses concerning the

Motion are resolved in accordance with the terms of this Order and as set forth in the record of

the Hearing.



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                       APPROVAL OF THE PURCHASE AGREEMENT

               3.       The Purchase Agreement, and all of the terms and conditions thereof, is

approved.

               4.       Pursuant to section 363(b) of the Bankruptcy Code, the Debtor is

authorized and directed to perform its obligations under, and comply with the terms of, the

Purchase Agreement and consummate the Sale pursuant to and in accordance with the terms and

conditions of the Purchase Agreement.

               5.       The Debtor is authorized and directed to execute and deliver, and

empowered to perform under, consummate and implement, the Purchase Agreement together

with all additional instruments and documents that may be reasonably necessary or desirable to

implement the Purchase Agreement and to take all further actions as may be requested by the

Purchaser for the purpose of assigning, transferring, granting, conveying and conferring the

Assets to the Purchaser or reducing the Assets to their possession, all as may reasonably be

necessary or appropriate to the performance the Debtor's obligations as contemplated by the

Purchase Agreement.

               6.       This Order and the Purchase Agreement shall be binding in all respects

upon all creditors (whether known or unknown) of the Debtor, all governmental entities, all non-

debtor parties to the Included Contracts, all successors and assigns of the Purchaser, the Debtor

and their affiliates and subsidiaries, the Assets, and any subsequent trustee appointed in the

Debtor's chapter 11 case or upon a conversion of the Debtor's case to chapter 7, and shall not be

subject to rejection. Nothing contained in any chapter 11 plan confirmed in this bankruptcy case

or the order confirming any such chapter 11 plan shall conflict with or derogate from the

provisions of the Purchase Agreement or this Sale Order.



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                                    TRANSFER OF ASSETS

               7.       Except as expressly permitted or otherwise specifically provided for in the

Purchase Agreement or this Sale Order, pursuant to sections 105(a) and 363(f) of the Bankruptcy

Code, the Assets shall be transferred to the Purchaser, and upon Closing shall be free and clear of

all Interests of any kind or nature whatsoever with all such Interests of any kind or nature

whatsoever to attach to the net proceeds of the Sale in the order of their priority, with the same

validity, force and effect, which they now have as against the Assets, subject to any claims and

defenses the Debtor may possess with respect thereto.

               8.       The transfer of the Assets to the Purchaser under the Purchase Agreement

constitutes a legal, valid, and effective transfer of the Assets, and shall vest the Purchaser with all

right, title, and interest of the Debtor in and to the Assets free and clear of all Interests of any

kind or nature whatsoever.

               9.       If any person or entity that has filed financing statements, mortgages,

mechanic's liens, lis pendens, or other documents or agreements evidencing Interests in the

Assets, shall not have delivered to the Debtor prior to the Closing in proper form for filing and

executed by the appropriate parties, termination statements, instruments of satisfaction or

releases of all interests that the person or entity has with respect to the Assets, then the Purchaser

is authorized on or after Closing, to file, register or otherwise record a certified copy of this Sale

Order which, once filed, registered or otherwise recorded, shall constitute conclusive evidence of

the release of all Interests in the Assets of any kind or nature whatsoever subject to paragraph 7

hereof.




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                      ASSUMPTION, ASSIGNMENT, AND SALE TO
                       PURCHASER OF INCLUDED CONTRACTS

               10.    Pursuant to sections 105(a), 363 and 365 of the Bankruptcy Code, and

subject to and conditioned upon the Closing, the Debtor's assumption, assignment and sale to the

Purchaser, and the Purchaser's assumption on the terms set forth in the Purchase Agreement of

the Included Contracts identified on Exhibit B attached hereto, is approved and the requirements

of section 365(b)(i) of the Bankruptcy Code with respect thereto are deemed satisfied. In

accordance with the terms of the Purchase Agreement and all other applicable provisions of the

Bankruptcy Code, the Debtor and the Purchaser retain the right to modify Exhibit B to add or

delete executory contracts or unexpired leases or otherwise amend such exhibit at any time prior

to Closing.

               11.    The Debtor is authorized and directed in accordance with sections 105(a),

363, and 365 of the Bankruptcy Code, to (i) assume and assign to the Purchaser, conditioned and

effective upon the Closing of the Sale, the Included Contracts free and clear of all Interests of

any kind or nature whatsoever; and (ii) execute and deliver to the Purchaser such documents or

other instruments as may be necessary to assign and transfer the Included Contracts and

Assumed Liabilities to the Purchaser.

               12.    With respect to the Included Contracts: (i) each Included Contract is an

executory contract or unexpired lease of the Debtor under section 365 of the Bankruptcy Code;

(ii) the Debtor may assume each Included Contract under section 365 of the Bankruptcy Code;

(iii) the Debtor may assign each Included Contract under sections 363 and 365 of the Bankruptcy

Code, and any provisions in any Included Contract that prohibits or conditions the assignment of

such Included Contract or allows the non-debtor party to such Included Contract to terminate,

recapture, impose any penalty, condition renewal or extension, or modify any term or condition


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upon the assignment of such Included Contract, constitutes unenforceable anti-assignment

provisions that are void and of no force and effect; (iv) the Included Contracts shall be

transferred and assigned to and following the Closing of the Sale shall remain in full force and

effect for the benefit of the Purchaser in accordance with their respective terms, notwithstanding

any provisions in any such Included Contracts (including those of the type described in sections

365(b)(2) and (f) of the Bankruptcy Code), that prohibit, restrict or condition such assignment or

transfer; (v) the Debtor is a party to each of the Included Contracts (including by reason of a

prior acquisition of the original party to such Included Contracts) and has the legal authority to

convey all of the Debtor's rights in such Included Contracts to the Purchaser; (vi) all other

requirements and conditions under sections 363 and 365 of the Bankruptcy Code for the

assumption by the Debtor and assignment to Purchaser of each Included Contract has been

satisfied; and (vii) upon Closing and in accordance with sections 363 and 365 of the Bankruptcy

Code, the Purchaser shall be fully and irrevocably vested in all right, title and interest of each

Included Contract.

               13.    Pursuant to the Bid Procedures Order, parties to the Included Contracts

were directed to file claims for alleged Cure Amounts due no later than September 26, 2013. No

parties filed claims for alleged Cure Amounts. The Cure Amounts set forth on Exhibit B are the

true, correct, final and fixed amounts, and are the only amounts that are required to be paid upon

assumption of the Included Contracts under sections 365(b)(1)(A) and (B) of the Bankruptcy

Code. The Purchaser is authorized and directed to pay such amounts under sections 105, 363(b),

and 365 of the Bankruptcy Code and the terms of the Purchase Agreement (including, without

limitation, section 2.2(c)). The Cure Amounts shall not be subject to further dispute or audit




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including any based on performance prior to the time of assumption, assignment, and sale,

irrespective of whether such Included Contract contains an audit clause.

               14.     Purchaser has demonstrated adequate assurance of future performance

with respect to the Included Contracts that has satisfied the requirements of the Bankruptcy Code

including, without limitation, sections 365(b)(1) and (3) and 365(f)(2)(B) to the extent

applicable.

               15.     There shall be no accelerations, penalties, assignment fees, increases or

any other fees charged to Purchaser as a result of the assumption, assignment and sale of the

Included Contracts. The validity of the assumption, assignment and sale to Purchaser shall not be

affected by any dispute between the Debtor or its affiliates and another party to an Included

Contract regarding the payment of any amount, including any cure amount under the Bankruptcy

Code.   The Included Contracts, upon assignment to Purchaser, shall be deemed valid and

binding, in full force and effect and in accordance with their respective terms.

               16.     Any party that may have had the right to consent to the assignment of its

Included Contract is deemed to have consented to such assignment for purposes of section

365(e)(2)(A)(ii) of the Bankruptcy Code and otherwise if such party failed to object to the

assumption and assignment.

               17.     Pursuant to sections 105(a), 363 and 365 of the Bankruptcy Code, except

as provided in this Sale Order, all parties to the Included Contracts are forever barred and

enjoined from raising or asserting against Purchaser any assignment fee, default, breach, claim,

or pecuniary loss, or condition to assignment, arising under or related to the Included Contracts

existing as of the Closing under the Purchase Agreement or arising by reason of the Closing

under the Purchase Agreement. Except as provided in the Purchase Agreement or this Sale



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Order, after the Closing the Debtor and its estate shall have no further liabilities or obligations

with respect to any Assumed Liabilities, and all holders of such claims are forever barred and

estopped from asserting such claims against the Debtor, its successors or assigns, its property or

its assets or estates.

                              PAYMENT TO SECURED LENDER

                18.      Purchaser holds an undisputed, liquidated and non-contingent secured

claim against the Debtor secured by the Assets in the allowed amount of $8,956,502. Purchaser’s

consideration for the Assets was (i) a credit bid in the amount of $6,000,000, (ii) cash in the

amount of $125,000 and (iii) a waiver of its deficiency claim. The transfer of the Assets and

Included Contracts to the Purchaser shall constitute payment in full on account of Purchaser’s

secured claims against the Debtor.

                                  ADDITIONAL PROVISIONS

                19.      The consideration provided by the Purchaser for the Assets under the

Purchase Agreement shall be deemed to constitute reasonably equivalent value and fair

consideration under the Bankruptcy Code and any other applicable law, and the auction sale and

sale price was not controlled by an agreement among potential bidders at the auction sale, and

may not be avoided under section 363(n) of the Bankruptcy Code.

                20.      On the Closing of the Sale, all parties are authorized and directed to

execute such documents and take all other actions as may be reasonably necessary to release

their Interests in the Assets, if any, as such Interests may have been recorded or may otherwise

exist.

                21.      Except as otherwise expressly provided in the Purchase Agreement,

Purchaser shall have no obligation to pay wages, bonuses, severance pay, benefits (including,

without limitation, contributions or payments on account of any under-funding with respect to

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any and all pension plans) or any other payment to employees of the Debtor. Except as provided

in the Purchase Agreement, Purchaser shall have no liability with respect to any collective

bargaining agreement, employee pension plan, employee welfare or retention, benefit and/or

incentive plan to which the Debtor is or was a party and that relates to the Assets (including,

without limitation, arising from or related to the rejection or other termination of any such

agreement), and Purchaser shall in no way be deemed to be party to or assignee of any such

agreements, and no employee of Purchaser shall be deemed in any way to be covered by or a

party to any such agreement, and all parties to any such agreements are enjoined from asserting

against Purchaser any and all claims arising from or relating to such agreements.

               22.     Each and every federal, state, and local governmental agency or

department is directed to accept any and all documents and instruments necessary and

appropriate to consummate the transactions contemplated by the Purchase Agreement.

               23.     All entities that are presently, or on the Closing may be, in possession of

any or all of the Assets are directed to surrender possession of the Assets to the Purchaser on the

Closing.

               24.     Except for the Assumed Liabilities or as expressly permitted or otherwise

specifically provided for in the Purchase Agreement or this Sale Order, the Purchaser shall have

no liability or responsibility for any liability or other obligation of the Debtor arising under or

related to the Assets other than for the Assumed Liabilities. Without limiting the generality of the

foregoing, and except as otherwise specifically provided herein and in the Purchase Agreement,

to the extent allowed by law, the Purchaser shall not be liable for any claims against the Debtor

or any of its predecessors or affiliates, and the Purchaser shall have no successor or vicarious

liabilities of any kind or character including, but not limited to, any such liability that may be



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imposed by statute (e.g., under so-called "bulk-sale" laws) or any theory of antitrust,

environmental, products liability, successor or transferee liability, labor law, de facto merger, or

substantial continuity, whether known or unknown as of the Closing, now existing or hereafter

arising, whether fixed or contingent, with respect to the Debtor or any obligations of the Debtor

arising prior to the Closing including, but not limited to, liabilities on account of any taxes

arising, accruing, or payable under, out of, in connection with, or in any way relating to the

operation of the Assets prior to the Closing.

               25.     Under no circumstances shall the Purchaser be deemed to be a successor

of or to the Debtor for any Interest against or in the Debtor or the Assets of any kind or nature

whatsoever. The sale, transfer, assignment and delivery of the Assets shall not be subject to any

Interests, and Interests of any kind or nature whatsoever shall remain with and continue to be

obligations of the Debtor. All Persons holding Interests against or in the Debtor or the Assets of

any kind or nature whatsoever (including but not limited to, the Debtor and/or its respective

successors, including any trustee's thereof, creditors, employees, unions, former employees and

shareholders, administrative agencies, governmental units, secretaries of state, federal, state and

local officials, maintaining any authority relating to any environmental, health and safety laws,

and their respective successors or assigns) shall be and are forever barred, estopped and

permanently enjoined from asserting, prosecuting or otherwise pursuing such Interests of any

kind or nature whatsoever against the Purchaser, their property, their successors and assigns, or

the Assets as an alleged successor or otherwise, with respect to any Interest of any kind or nature

whatsoever such Person or entity had, has or may have against or in the Debtor, its estate,

officers, directors, shareholders or the Assets. Except as expressly permitted or otherwise

specifically provided in the Purchase Agreement or this Sale Order, following the Closing no



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holder of an Interest in the Debtor shall interfere with the Purchaser's title to or use and

enjoyment of the Assets based on or related to such Interest, or any actions that the Debtor may

take in its chapter 11 case.

               26.     Nothing in this Sale Order shall be construed to limit, in any fashion, the

lawful regulatory and enforcement powers of the Federal Trade Commission.

               27.     This Court retains jurisdiction to enforce and implement the terms and

provisions of the Purchase Agreement, all amendments thereto, any waivers and consents

thereunder, and of each of the agreements executed in connection therewith in all respects

including, but not limited to, retaining jurisdiction to (i) compel delivery of the Assets and the

Included Contracts to the Purchaser; (ii) compel delivery of the purchase price or performance of

other obligations owed to the Debtor; (iii) resolve any disputes arising under or related to the

Purchase Agreement; (iv) interpret, implement and enforce the provisions of this Sale Order; (v)

protect the Purchaser against (a) any of the Excluded Liabilities; or (b) any Interests in the

Debtor or the Assets, of any kind or nature whatsoever, that are or will be attaching to the

proceeds of the Sale; and (vi) resolve any disputes arising from the assumption, assignment and

sale of the Included Contracts to the Purchaser; provided, however, that in the event the Court

abstains from exercising or declines to exercise such jurisdiction or is without jurisdiction

respecting the Purchase Agreement or this Sale Order, such abstention, refusal or lack of

jurisdiction shall have no effect upon, and shall not control, prohibit or limit the exercise of

jurisdiction of any other court having competent jurisdiction with respect to any such matter;

provided, further, that nothing in this Sale Order shall contravene any provisions in the Purchase

Agreement concerning the processes for dispute resolution.




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               28.     The transactions contemplated by the Purchase Agreement are undertaken

by the Purchaser in good faith, as that term is used in section 363(m) of the Bankruptcy Code

and, accordingly, the reversal or modification on appeal of the authorization provided herein to

consummate the Sale shall not affect the validity of the Sale of the Assets to the Purchaser

(including the assumption, assignment and sale of any of the Included Contracts), unless such

authorization is duly stayed pending such appeal. The Purchaser is a purchaser in good faith of

the Assets, and is entitled to all of the protections afforded by section 363(m) of the Bankruptcy

Code.

               29.     The terms and provisions of the Purchase Agreement and this Sale Order

shall be binding in all respects upon, and shall inure to the benefit of the Debtor, its estate, its

creditors and all parties in interest, the Purchaser, and their respective affiliates, successors and

assigns, and any affected third parties including, but not limited to, all persons asserting an

Interest in the Assets to be sold to the Purchaser under the Purchase Agreement, notwithstanding

any subsequent appointment of a trustee(s), party, entity, or other fiduciary under any section of

any chapter of the Bankruptcy Code or, as to which trustee(s), party, entity, or other fiduciary

such terms and provisions likewise shall be binding.

               30.     The provisions of this Sale Order and the terms and conditions of the

Purchase Agreement shall be binding upon, fully enforceable against and inure to the benefit of

any trustee, responsible officer or other fiduciary appointed in the Debtor's chapter 11 case under

any section of the Bankruptcy Code or any applicable law. Such binding effect is an integral part

of this Sale Order.

               31.     The failure specifically to include any particular provisions of the

Purchase Agreement in this Sale Order shall not diminish or impair the effectiveness of such



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provision, it being the intent of the Court that the Purchase Agreement be authorized and

approved in its entirety.     Notwithstanding anything herein to the contrary, the Purchase

Agreement and any related agreements, documents, or other instruments may be modified,

amended or supplemented by the parties thereto, in a writing signed by both parties, and in

accordance with the terms thereof without further order of the Court, provided that any such

modification, amendment or supplement does not have a material adverse effect on the Debtor's

estate.

               32.     The stay of orders authorizing the (i) use, sale, or lease of property as

provided for in Fed. R. Bank. P. 6004(g); and (ii) assignment of an executory contract or

unexpired lease as provided for in Fed. R. Bank. P. 6006(d), shall not apply to this Sale Order,

and this Sale Order is immediately effective and enforceable.

               33.     The Court, in entering this Order, makes the above findings of fact and

conclusions of law that the Debtor’s use of Cash Collateral as set forth herein complies with the

Debtor’s fiduciary obligations to the estate.



Dated: October 2, 2013
New York, New York


                                                /s/ Shelley C. Chapman
                                                HONORABLE SHELLEY C. CHAPMAN
                                                UNITED STATES BANKRUPTCY JUDGE




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Grand	Avenue	Software,	Inc.	        	     	     	      	    $2,531.96	

Quickbooks	Enterprise	Solutions	License	 	      	      	    $0	

MozyPro	       	       	     	      	     	     	      	    $0	

Palen/Kimball	LLC	 	         	      	     	     	      	    $0	

Blue	Cross	Blue	Shield	of	Minnesota	      	     	      	    $0	

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